986 F.2d 1412
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Raynard K. BLACKWELL, Sr., Plaintiff-Appellant,v.Sergeant NOLES;  Lieutenant Byrd;  Doctor Lincoln;  SusanDoe, Defendants-Appellees.
    No. 92-7101.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 23, 1993
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-92-371)
      Raynard K. Blackwell, Sr., Appellant Pro Se.
      E.D.N.C.
      REMANDED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      The notice of appeal in this case was received in the district court shortly after expiration of the appeal period.  Under  Houston v. Lack, 487 U.S. 266 (1988), the notice is considered filed as of the date Appellant delivered it to prison officials for forwarding to the court.  The record does not reveal when Appellant delivered the notice of appeal for mailing to the court.  Accordingly, we remand the case for the district court to obtain this information from the parties and determine the timeliness of the filing under Houston v. Lack.  The record, as supplemented, will then be returned to this Court for further consideration.
    
    REMANDED
    